Case 20-10343-LSS   Doc 8389-1      Filed 01/20/22   Page 1 of 22




                        Exhibit A
              Case 20-10343-LSS            Doc 8389-1        Filed 01/20/22       Page 2 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
            NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
          FEDERAL RULES OF CIVIL PROCEDURE OF CHARLES BATES

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Charles Bates.

         The deposition will take place on January 25, 2022 at 12:00 p.m. (Eastern Time) or at

such other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS        Doc 8389-1      Filed 01/20/22      Page 3 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




                                         2
         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 4 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                    BIELLI & KLAUDER, LLC
                                    David M. Klauder, Esquire (No. 5769)
                                    1204 N. King Street
                                    Wilmington, DE 19801
                                    Phone: (302) 803-4600
                                    Fax: (302) 397-2557
                                    Email: dklauder@bk-legal.com

                                    KTBS LAW LLP
                                    Thomas E. Patterson (pro hac vice)
                                    Daniel J. Bussel (pro hac vice)
                                    Robert J. Pfister (pro hac vice)
                                    Sasha M Gurvitz (pro hac vice)
                                    1801 Century Park East, Twenty-Sixth Floor
                                    Los Angeles, California 90067
                                    Telephone       310-407-4000
                                    Email: tpatterson@ktbslaw.com;
                                           dbussel@ktbslaw.com;
                                           rpfister@ktbslaw.com;
                                           sgurvitz@ktbslaw.com

                                    Counsel to each of The Zalkin Law Firm, P.C.,
                                    and Pfau Cochran Vertetis Amala PLLC




                                     3
              Case 20-10343-LSS            Doc 8389-1        Filed 01/20/22       Page 5 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
            NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
         FEDERAL RULES OF CIVIL PROCEDURE OF MICHAEL AVERILL

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Michael Averill.

         The deposition will take place on January 25, 2022 at 10:00 a.m. (Eastern Time) or at

such other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS        Doc 8389-1      Filed 01/20/22      Page 6 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




                                         2
         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 7 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                    BIELLI & KLAUDER, LLC
                                    David M. Klauder, Esquire (No. 5769)
                                    1204 N. King Street
                                    Wilmington, DE 19801
                                    Phone: (302) 803-4600
                                    Fax: (302) 397-2557
                                    Email: dklauder@bk-legal.com

                                    KTBS LAW LLP
                                    Thomas E. Patterson (pro hac vice)
                                    Daniel J. Bussel (pro hac vice)
                                    Robert J. Pfister (pro hac vice)
                                    Sasha M Gurvitz (pro hac vice)
                                    1801 Century Park East, Twenty-Sixth Floor
                                    Los Angeles, California 90067
                                    Telephone       310-407-4000
                                    Email: tpatterson@ktbslaw.com;
                                           dbussel@ktbslaw.com;
                                           rpfister@ktbslaw.com;
                                           sgurvitz@ktbslaw.com

                                    Counsel to each of The Zalkin Law Firm, P.C.,
                                    and Pfau Cochran Vertetis Amala PLLC




                                     3
              Case 20-10343-LSS            Doc 8389-1        Filed 01/20/22       Page 8 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
            NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
          FEDERAL RULES OF CIVIL PROCEDURE OF MELISSA KIBLER

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Melissa Kibler.

         The deposition will take place on January 25, 2022 at 10:00 a.m. (Eastern Time) or at

such other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS        Doc 8389-1      Filed 01/20/22      Page 9 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




                                         2
         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 10 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                     BIELLI & KLAUDER, LLC
                                     David M. Klauder, Esquire (No. 5769)
                                     1204 N. King Street
                                     Wilmington, DE 19801
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                                     Fax: (302) 397-2557
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                                     KTBS LAW LLP
                                     Thomas E. Patterson (pro hac vice)
                                     Daniel J. Bussel (pro hac vice)
                                     Robert J. Pfister (pro hac vice)
                                     Sasha M Gurvitz (pro hac vice)
                                     1801 Century Park East, Twenty-Sixth Floor
                                     Los Angeles, California 90067
                                     Telephone       310-407-4000
                                     Email: tpatterson@ktbslaw.com;
                                            dbussel@ktbslaw.com;
                                            rpfister@ktbslaw.com;
                                            sgurvitz@ktbslaw.com

                                     Counsel to each of The Zalkin Law Firm, P.C.,
                                     and Pfau Cochran Vertetis Amala PLLC




                                     3
              Case 20-10343-LSS           Doc 8389-1        Filed 01/20/22       Page 11 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
            NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
          FEDERAL RULES OF CIVIL PROCEDURE OF BRIAN WHITTMAN

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Brian Whittman.

         The deposition will take place on January 27, 2022 at 10:00 a.m. (Eastern Time) or at

such other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS       Doc 8389-1       Filed 01/20/22     Page 12 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




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         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 13 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                     BIELLI & KLAUDER, LLC
                                     David M. Klauder, Esquire (No. 5769)
                                     1204 N. King Street
                                     Wilmington, DE 19801
                                     Phone: (302) 803-4600
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                                     KTBS LAW LLP
                                     Thomas E. Patterson (pro hac vice)
                                     Daniel J. Bussel (pro hac vice)
                                     Robert J. Pfister (pro hac vice)
                                     Sasha M Gurvitz (pro hac vice)
                                     1801 Century Park East, Twenty-Sixth Floor
                                     Los Angeles, California 90067
                                     Telephone       310-407-4000
                                     Email: tpatterson@ktbslaw.com;
                                            dbussel@ktbslaw.com;
                                            rpfister@ktbslaw.com;
                                            sgurvitz@ktbslaw.com

                                     Counsel to each of The Zalkin Law Firm, P.C.,
                                     and Pfau Cochran Vertetis Amala PLLC




                                     3
              Case 20-10343-LSS           Doc 8389-1        Filed 01/20/22       Page 14 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
            NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
         FEDERAL RULES OF CIVIL PROCEDURE OF JESSICA HOREWITZ

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Jessica Horewitz.

         The deposition will take place on January 28, 2022 at 10:00 a.m. (Eastern Time) or at

such other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS       Doc 8389-1       Filed 01/20/22     Page 15 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




                                         2
         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 16 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                     BIELLI & KLAUDER, LLC
                                     David M. Klauder, Esquire (No. 5769)
                                     1204 N. King Street
                                     Wilmington, DE 19801
                                     Phone: (302) 803-4600
                                     Fax: (302) 397-2557
                                     Email: dklauder@bk-legal.com

                                     KTBS LAW LLP
                                     Thomas E. Patterson (pro hac vice)
                                     Daniel J. Bussel (pro hac vice)
                                     Robert J. Pfister (pro hac vice)
                                     Sasha M Gurvitz (pro hac vice)
                                     1801 Century Park East, Twenty-Sixth Floor
                                     Los Angeles, California 90067
                                     Telephone       310-407-4000
                                     Email: tpatterson@ktbslaw.com;
                                            dbussel@ktbslaw.com;
                                            rpfister@ktbslaw.com;
                                            sgurvitz@ktbslaw.com

                                     Counsel to each of The Zalkin Law Firm, P.C.,
                                     and Pfau Cochran Vertetis Amala PLLC




                                     3
              Case 20-10343-LSS           Doc 8389-1        Filed 01/20/22       Page 17 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
             NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
          FEDERAL RULES OF CIVIL PROCEDURE OF MICHAEL ARCHER

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Michael Archer.

         The deposition will take place on January 28, 2022 at 1:00 p.m. (Eastern Time) or at such

other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS       Doc 8389-1       Filed 01/20/22     Page 18 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




                                         2
         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 19 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                     BIELLI & KLAUDER, LLC
                                     David M. Klauder, Esquire (No. 5769)
                                     1204 N. King Street
                                     Wilmington, DE 19801
                                     Phone: (302) 803-4600
                                     Fax: (302) 397-2557
                                     Email: dklauder@bk-legal.com

                                     KTBS LAW LLP
                                     Thomas E. Patterson (pro hac vice)
                                     Daniel J. Bussel (pro hac vice)
                                     Robert J. Pfister (pro hac vice)
                                     Sasha M Gurvitz (pro hac vice)
                                     1801 Century Park East, Twenty-Sixth Floor
                                     Los Angeles, California 90067
                                     Telephone       310-407-4000
                                     Email: tpatterson@ktbslaw.com;
                                            dbussel@ktbslaw.com;
                                            rpfister@ktbslaw.com;
                                            sgurvitz@ktbslaw.com

                                     Counsel to each of The Zalkin Law Firm, P.C.,
                                     and Pfau Cochran Vertetis Amala PLLC




                                     3
              Case 20-10343-LSS           Doc 8389-1        Filed 01/20/22       Page 20 of 22




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re
                                                          Chapter 11
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC, 1                                      Case No. 20-10343 (LSS)

                 Debtors.                                 (Jointly Administered)



    THE ZALKIN LAW FIRM, P.C. AND PFAU COCHRAN VERTETIS AMALA PLLC’S
            NOTICE OF DEPOSITION PURSUANT TO RULE 30 OF THE
          FEDERAL RULES OF CIVIL PROCEDURE OF NANCY GUTZLER

         PLEASE TAKE NOTICE THAT pursuant to Rule 30 of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Zalkin Law Firm, P.C.

and Pfau Cochran Vertetis Amala PLLC (the “Law Firms”) shall take the deposition of

Nancy Gutzler.

         The deposition will take place on January 26, 2022 at 10:00 a.m. (Eastern Time) or at

such other date and time as the parties may agree. The deposition will be conducted remotely.

         With respect to the conduct of this remote deposition:

         1.      Counsel for the parties and their clients will be participating from various,
                 separate locations;

         2.      The court reporter will administer the oath to the witness remotely;

         3.      The witness will be required to provide government-issued identification
                 satisfactory to the court reporter, and this identification must be legible on
                 camera;




1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
     Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
     Case 20-10343-LSS       Doc 8389-1       Filed 01/20/22     Page 21 of 22




4.     Each participating attorney may be visible to all other participants, and their
       statements will be audible to all participants;

5.     All exhibits will be provided simultaneously and electronically to the witness and
       all participants;

6.     The court reporter will record the testimony;

7.     The deposition may be recorded electronically; and

8.     Counsel for all parties will be required to stipulate on the record:

       a.     Their consent to this manner of deposition; and

       b.     Their waiver of any objection to this manner of deposition, including any
              objection to the admissibility at trial of this testimony based on this
              manner of deposition.




                                         2
         Case 20-10343-LSS   Doc 8389-1   Filed 01/20/22   Page 22 of 22




DATED: January 19, 2022

                                By: /s/ David M. Klauder

                                     BIELLI & KLAUDER, LLC
                                     David M. Klauder, Esquire (No. 5769)
                                     1204 N. King Street
                                     Wilmington, DE 19801
                                     Phone: (302) 803-4600
                                     Fax: (302) 397-2557
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                                     KTBS LAW LLP
                                     Thomas E. Patterson (pro hac vice)
                                     Daniel J. Bussel (pro hac vice)
                                     Robert J. Pfister (pro hac vice)
                                     Sasha M Gurvitz (pro hac vice)
                                     1801 Century Park East, Twenty-Sixth Floor
                                     Los Angeles, California 90067
                                     Telephone       310-407-4000
                                     Email: tpatterson@ktbslaw.com;
                                            dbussel@ktbslaw.com;
                                            rpfister@ktbslaw.com;
                                            sgurvitz@ktbslaw.com

                                     Counsel to each of The Zalkin Law Firm, P.C.,
                                     and Pfau Cochran Vertetis Amala PLLC




                                     3
